                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                   CHATTANOOGA DIVISION

   KENNETH ANDREW COLBAUGH, et al.,                  )
                                                     )
                                                     )
                 Plaintiffs,                         )
                                                     )         1:24-CV-00151-DCLC-CHS
          v.                                         )
                                                     )
   MEIGS COUNT SHERIFF’S                             )
   DEPARTMENT, et al.,                               )
                                                     )
                 Defendants.                         )


                                             ORDER

         Following the death of Tabatha Marie Colbaugh (“decedent”) while she was in the custody

  of Meigs County Sheriff Deputy Robert J. Leonard (“Deputy Leonard”), decedent’s son, Nathan

  Alexander Smith (“Smith”), initiated an action against Meigs County and Neal Pinkston, the

  administrator for the estate of Deputy Leonard. See Case No. 1:24-CV-104 (“the Smith case”).

  Thereafter, Kenneth Andrew Colbaugh (“Colbaugh”), decedent’s husband, moved to intervene

  and moved to dismiss Smith’s claims, arguing that Smith filed prematurely and without standing

  because the right of action under Tennessee’s wrongful death statute passed to him as decedent’s

  surviving spouse. Colbaugh simultaneously filed a separate wrongful death action against Meigs

  County Sheriff’s Department, the Estate of Robert Leonard, various John Does, and Meigs County.

  See Case No. 1:24-CV-151 (“the Colbaugh case”). Colbaugh then withdrew his Motion to

  Intervene and Motion to Dismiss in the Smith case and moved to consolidate both cases. Two

  days later, Smith moved to intervene in the Colbaugh case.

         On June 10, 2024, the Court consolidated the cases and designated the above-captioned

  action, the Colbaugh case, the lead case for purposes of consolidation [Doc. 21]. Now, Colbaugh

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  moves to dismiss Smith’s Motion to Intervene as moot [Doc. 23] and seeks a Court order requiring

  the filing of a single consolidated complaint, the appointment of lead counsel, and a stay of briefing

  on Meigs County’s pending Motion to Dismiss [Doc. 28]. Smith also moves to stay briefing on

  the Motion to Dismiss until issues raised by him are resolved, including a determination as to the

  proper plaintiff [Doc. 36].

         The Court consolidated the Smith and Colbaugh cases pursuant to Rule 42, which provides

  that if “actions before the court involve a common question of law or fact, the court may . . .

  consolidate the actions[.]” Fed.R.Civ.P. 42(a). The Supreme Court has described consolidation as

  not “completely merging the constituent cases into one, but instead as enabling more efficient case

  management while preserving the distinct identities of the cases and the rights of the separate

  parties in them.” Hall v. Hall, 584 U.S. 59, 67 (2018). In sum, “[c]onsolidation was ‘allowed by

  the practice of the court for its convenience, and the saving of time and expense to the parties.’”

  Id. at 68 (quoting The Martha, 53 U.S. 347, 353 (1851)). It “does not merge the suits into a single

  cause, or change the rights of the parties, or make those who are parties in one suit parties in

  another.” Johnson v. Manhattan Ry. Co., 289 U.S. 479, 497 (1933).

         Based on the foregoing, Colbaugh’s requests for a single consolidated complaint and the

  appointment of lead counsel [Doc. 28] are not well-taken. Both Smith and Colbaugh claim the

  statutory right to bring a wrongful death action, and both have initiated separate lawsuits. As the

  Supreme Court has made clear, consolidation does not merge the two distinct cases into one. Thus,

  the Court declines to appoint lead counsel and consolidate the two complaints. For the same

  reasons, Colbaugh’s Motion to Dismiss Smith’s Motion to Intervene as Moot [Doc. 23] is also

  misplaced. Smith moves to intervene as a matter of right, arguing that he and his minor siblings,

  possess the sole right to bring a wrongful death action under Tennessee law [Doc. 17, pg. 1].



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         The Court “must permit anyone to intervene who . . . claims an interest relating to the

  property or transaction that is the subject of the action, and is so situated that disposing of the

  action may as a practical matter impair or impede the movant’s ability to protect its interest, unless

  existing parties adequately represent that interest.” Fed.R.Civ.P. 24(a). Smith undoubtedly claims

  an interest relating to the subject of the wrongful death action. That is, he claims he and his siblings

  have the sole right to initiate and litigate the action. To be sure, Tennessee’s wrongful death statute

  forecloses the chances of multiple actions being litigated to resolve a single wrongful death claim.

  In relevant part, the statute provides that “the [wrongful death] action may be instituted by the

  personal representative of the deceased or by the surviving spouse in the surviving spouse’s own

  name, or, if there is no surviving spouse, by the children of the deceased or by the next of kin[.]”

  Tenn. Code Ann. § 20-5-107(a). The law governing intestate succession governs the priorities of

  next of kin. House v. Gibson, 827 S.W.2d 310, 311 (Tenn. Ct. App. 1991). Thus, either Colbaugh,

  as decedent’s surviving spouse, or Smith and his siblings, as decedent’s children, have the sole

  right to bring a wrongful death action. The Court cannot resolve the dispute without proper

  briefing, but it is axiomatic that both cannot be true. As the two cases stand, disposition of the

  Colbaugh case would inevitably impair Smith and his siblings’ claimed interest in litigating the

  wrongful death claims themselves. Additionally, if Smith and his siblings are correct in that

  Colbaugh lacks the statutory authority to bring the wrongful death action, it is self-evident that he

  cannot adequately represent their interests.

         For the reasons stated herein, Smith’s Motion to Intervene [Doc. 17] is GRANTED, and

  Colbaugh’s Motion to Dismiss Smith’s Motion to Intervene as Moot [Doc. 23] is DENIED.

  Additionally, Colbaugh’s Motion for the Court to Order the Filing of a Consolidated Complaint,

  Appoint Lead Counsel, and Stay Briefing on Defendant Meigs Count Tennessee Motion to



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  Dismiss [Doc. 28] is GRANTED IN PART and DENIED IN PART. The motion is DENIED

  to the extent Colbaugh seeks the filing of a consolidated complaint and the appointment of lead

  counsel. However, because it is imperative that the Court resolve the dispute between Colbaugh

  and Smith as to which action was properly initiated under Tennessee law prior to ruling on any

  other dispositive motions, Colbaugh’s motion [Doc. 28] is GRANTED to the extent he seeks to

  stay briefing on Meigs County’s Motion to Dismiss. Smith’s analogous motion to stay briefing

  [Doc. 36] is also GRANTED, and his motion for extension of time to respond to Meigs County’s

  Motion to Dismiss [Doc. 24] is DENIED AS MOOT.

         Finally, Smith requests a case management conference to address the manner in which

  these two cases will proceed [Doc. 39]. Considering the procedural posture of the two cases,

  Smith’s motion [Doc. 39] is well-taken and GRANTED.            A telephonic case management

  conference shall be held on August 7, 2024, at 11:00 a.m. EST. The parties shall call the Court’s

  conference line at 866-390-1828 and enter access code 4845352 at the appointed time.

         SO ORDERED:


                                              s/ Clifton L. Corker
                                              United States District Judge




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